Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 1 of 6




  EXHIBIT 2
        Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 2 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

     Masih Alinejad,

                                      Plaintiff,
                            v.
                                                       Case Number: 1:19-cv-03599-GMH
     The Islamic Republic of Iran et al.,


                                    Defendants.


                        DECLARATION OF KAMBIZ FOROOHAR

       COMES NOW Kambiz Foroohar and states as follows:

       1.      I am a naturalized citizen of the United States and the State of New York, having

come to the United States in 1988 and became a citizen in October 2013.

       2.      I have been a journalist for U.S. publications since 1990 and a documentary maker

for the past year. I have published numerous articles in Wall Street Journal, Bloomberg,

BusinessWeek, Forbes and National Interest magazine.

       3.      I met Masih Alinejad in August 2009 while she was in the U.S. in anticipation of

an interview with the former President Barack Obama. I closely followed her career after we

became engaged in October 2019. She was a tireless human rights campaigner and an investigative

journalist who continually exposed human rights violations by the Iranian government in the

aftermath of the 2009 disputed presidential elections. Families who had had their loved ones

arrested or killed by the security forces appealed to Masih as the last person who could help them.

Masih would diligently follow all the leads to find out what had happened or at times would spend

hours and even days or weeks listening to the grieving families.




                                                   1
        Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 3 of 6




       4.      To have such a burden put on her would have taken a lot out of Masih but for the

love and support of her brother Alireza and his cool sense of humor. No matter what the challenge

Alireza was facing, he managed to see the amusing side of his problems. His almost daily

conversations and messages with Masih were the rock of emotional support that only family can

provide. Alireza was the most important family member that reached to her daily. Alireza is a well-

read and rounded person. In Oct. 2014, as Masih and I prepared to head to Hawaii for our

honeymoon, Alireza called from Tehran to offer tips on what to do and where to go to get the full

island experience.

       5.       The level of attacks on Masih increased to a different level; we witnessed an

exponential jump in frequency, intensity and novelty after she launched the My Stealthy Freedom

campaign against compulsory hijab in Iran 2014. Compulsory hijab is one of the foundational

EORFNVRIWKH,VODPLF5HSXEOLFDQG0DVLK¶VFDPSDLJQZDVYLHZHGDVDQH[LVWHQWLDOWhreat by the

authorities in Tehran.

       6.      Apart from death threats, issued publicly and privately, Masih received daily threats

of kidnapping, threats of acid attacks, and threats of rape. On top of that she has been subjected to

an orchestrated campaign of abuse and lies on social media to distract her message.

       7.      In 2014, I received a notification that the Iranian state-owned news channel had

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watched the broadcast and was sickened by the joy expressed by the announcers as they read the

news. I was extremely distressed by the news. Before reaching out to Masih, I searched all other

news channels and websites but was surprised that I could not find any mention of this attack. The

IDNHQHZVRI0DVLK¶VUDSHZDVGHVLJQHGWRVKDPHKHUUXLQKHULPDJHDQGZDUQRIIRWKHUZRPHQ

from joining her campaign.




                                                 2
        Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 4 of 6




       8.      In 2017, Alireza called my mobile phone late one evening to warn Masih about an

elaborate plot by the Revolutionary Guards to lure her, and the two of us, to Turkey on the pretext

of meeting her family. At the time the idea was too outlandish. %XW,¶YHFRPHWRUHDOL]HKRZFORVH

I was to accepting a trip that could have led to my death or kidnapping. A number of Iranian

dissidents, most notably Ruhollah Zam in 2020, have been lured to neighboring countries and

kidnapped by the Islamic Republic security forces.

       9.      It is no exaggeration to say that almost after major incidents in the Islamic Republic,

such as the killing of Quds Force commander Qassem Soleimani, Masih is deluged with hundreds

and even thousands of threats via email, Twitter and other social media platforms.

       10.     0DVLK¶VIDPLO\in Iran have been interrogated a number of times by the Intelligence

Ministry agents. Her sister and her family have appeared on national television to publicly

denounce Masih. Families who have lost their loved ones during protests are warned not to talk to

or give interviews to Masih.

       11.     $IWHU ZH OHDUQW DERXW $OLUH]D¶V DUUHVt, Masih was devastated by guilt blaming

herself DQGVKHFRXOGQ¶WWDONZLWKKHUIDPLO\LQ,UDQEHFDXVHWKDWZRXOGRQO\SXWWKHPLQJUHDWHU

harm. She was caught between keeping a low profile so not to give the authorities any excuses to

take harsh measures against her brother and the need to publicize the injustice that had been done.

All we knew at first was that Alireza had been taken but no other news came out until Navid

Mihandoost, a film director called to say that Alireza was being held in section 2A of Evin prison,

which is where the Revolutionary Guards keep their political prisoners. The section 2A is notorious

for its tough and inhumane interrogations. That news confirmed our worst fears and it was obvious

to us the Islamic Republic were going to SXQLVK$OLUH]DIRU0DVLK¶VDFWLYLWLHV




                                                 3
        Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 5 of 6




       12.     The special treatment meted out to Alireza, the special secrecy were all part of a

plot to hurt Masih. Not surprisingly, Masih lost weight, more than 10 percent of her body weight,

falling to 95 pounds from 105 pounds before the arrest. She could sleep during this time, and when

she did, she had violent nightmares which continue to this day. At least once or twice a week I

have to wake Masih to save her from the terror of her nightmares.

       13.     Her only solace is her tiny garden in our front yard which she has become a noted

local neighborhood attraction thanks to her 8-feet tall sunflowers and various trees including a

cherry blossom tree. She has named the tree after Alireza and from spring through fall would talk

to it without any concern of being seen by passersby.

       14.     In prison, Alireza can make limited number of phone calls but he cannot call Masih

because that would increase his sentence. However, other prisoners on furlough send messages to

KHUDERXW$OLUH]D¶Vcondition. Ever since the arrest and even before COVID-19, Masih stopped

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GLGYHQWXUHRXWWRDUHVWDXUDQWVKH¶GEHFRQVXPHGE\JXLOWMasih suffers from depression which

she self-medicates.

       15.     Mr. Mihandoost was a renowned documentary maker in Iran but he too was arrested

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in prison for his contacts with Masih.

       16.     The lRFDWLRQRIRXUKRPHKDVEHHQVKDUHGRQWKH,QWHUQHW$IWHU6ROHLPDQL¶VNLOOLQJ

some members of Parliament called for drastic action to be taken against Masih and her family in

Brooklyn, essentially calling for our murder. Another fear is to have acid throZQLQ0DVLK¶VIDFH

:LWKWKHH[WUDWKUHDWV0DVLKQRORQJHUWRRNSXEOLFWUDQVSRUWWRZRUNDW92$¶V1HZ<RUNRIILFHV

We have received a measure of protection by the police and federal agencies and have spent time




                                                 4
        Case 1:19-cv-03599-GMH Document 31-4 Filed 12/05/22 Page 6 of 6




at safe locations during particularly tense episodes when there were unusual threat activities

against her.




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